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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA

HARRY and TAMMY TARVER,                          )
individually and as personal representatives     )
of the ESTATE OF TRAVIS SCOTT                    )
TARVER, deceased,                                )
                                                 )
                           Plaintiffs,           )
                                                 )
             v.                                  )   Case No. CIV-16-548-D
                                                 )
FORD MOTOR COMPANY, a                            )
Delaware corporation; TRW VEHICLE                )
SAFETY SYSTEMS, INC.,                            )
                                                 )
                           Defendants.           )

                                         ORDER

      Before the Court are Defendants’ Motions to Dismiss [Doc. Nos. 10, 11], to

which Plaintiffs have filed their responses in opposition [Doc. Nos. 16, 18].

Defendant Ford Motor Company also filed a Supplemental Brief in support of its

motion [Doc. No. 41]. Plaintiffs, moreover, seek leave to conduct jurisdictional

discovery with respect to the issues raised in Defendants’ motions [Doc. Nos. 19,

21]. The matter is fully briefed and at issue.

                                  BACKGROUND

      Plaintiff’s son, Travis, owned a 2002 Ford F-150 pickup truck. On

November 10, 2014, while driving on Oklahoma State Highway 270, he came

upon an 18-wheeler truck stopped in the highway. Travis attempted to go around
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the truck and lost control of his vehicle. The truck began to roll over, during which

the seat broke from the floor and the seatbelt was torn, causing Travis to be ejected

from the vehicle. As a result, Travis was killed. 1

      Plaintiffs filed the present suit, individually and as personal representatives

of the deceased, against Ford Motor Company (the truck’s manufacturer/designer)

and TRW Vehicle Safety Systems, Inc. (the manufacture/designer of the seatbelt

system) under theories of products liability and negligence. Generally, Plaintiffs

alleged the truck at issue was defective at the time it was manufactured by Ford

and unreasonably dangerous to any person who might have been reasonably

affected by it, including the decedent. Plaintiff also alleged that TRW was jointly

responsible with Ford for placing the alleged defective seatbelt system in the

stream of commerce. Defendants timely removed Plaintiffs’ action to this Court.

      Defendants argue they are not subject to personal jurisdiction in Oklahoma

because they are not “at home” in Oklahoma and have no substantial contacts with

the state. Plaintiffs contend Defendant’s respective business activities leading up to

the accident render them subject to personal jurisdiction.



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  In the absence of an evidentiary hearing on Defendants’ respective motions, the
Court accepts as true all well-pled allegations in the Complaint. Wenz v. Memery
Crystal, 55 F.3d 1503, 1505 (10th Cir. 1995). All factual disputes are resolved in
Plaintiffs’ favor. Id.; see also AST Sports Science, Inc. v. CFL Distrib. Ltd., 514
F.3d 1054, 1057 (10th Cir. 2008). The Court, accordingly, has stated the above
facts in that light.
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                          STANDARD OF DECISION

      A plaintiff bears the burden to establish personal jurisdiction over each

defendant named in the action. Rockwood Select Asset Fund XI (6)–1, LLC v.

Devine, Millimet & Branch, 750 F.3d 1178, 1179-80 (10th Cir. 2014); OMI

Holdings v. Royal Ins. Co. of Can., 149 F.3d 1086, 1091 (10th Cir. 1998). This

burden is light in the preliminary stages of litigation. AST Sports Science, 514 F.3d

at 1056; Wenz, 55 F.3d at 1505. When there has been no evidentiary hearing, a

plaintiff must only present competent proof in the form of affidavits and other

written materials that, if true, would establish a prima facie showing that

jurisdiction is proper. Id. “In order to defeat a plaintiff’s prima facie showing of

jurisdiction, a defendant must present a compelling case demonstrating ‘that the

presence of some other considerations would render jurisdiction unreasonable.’ ”

OMI Holdings, 149 F.3d at 1091 (citing Burger King Corp. v. Rudzewicz, 471 U.S.

462, 477 (1985); Rambo v. American Southern Ins. Co., 839 F.2d 1415, 1419 n. 6

(10th Cir. 1988)).

                                  DISCUSSION

I.    FORD MOTOR COMPANY

      Relying principally on the recent Supreme Court decisions in Daimler AG v.

Bauman, __ U.S. __, 134 S.Ct. 746, 187 L.Ed.2d 624 (2014) and Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915 (2011), Ford contends it is

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not subject to personal jurisdiction in Oklahoma because it is not “at home” in

Oklahoma and the suit does not arise from Ford’s contacts with Oklahoma. Ford’s

Mot. at 1. To obtain personal jurisdiction over a nonresident defendant in a

diversity action, a plaintiff must show jurisdiction is proper under the laws of the

forum state and the exercise of jurisdiction does not offend due process. Soma

Medical Intern. v. Standard Chartered Bank, 196 F.3d 1292, 1295 (10th Cir.

1999). Oklahoma’s long-arm statute, 12 OKLA. STAT. § 2004(F), provides that “[a]

court of this state may exercise jurisdiction on any basis consistent with the

Constitution of this state and the Constitution of the United States.” The long-arm

statute is coextensive with the constitutional limitations imposed by the Due

Process Clause. Rambo, 839 F.2d at 1416. Therefore, if jurisdiction is consistent

with the Due Process Clause, Oklahoma’s long arm statute authorizes jurisdiction

over a nonresident defendant.

      A.     General Jurisdiction

      Personal jurisdiction may either be general or specific. A court may not

exercise general personal jurisdiction over a nonresident defendant unless the

defendant has “continuous and systematic” business contacts with the forum state.

Newsome v. Gallacher, 722 F.3d 1257, 1264 (10th Cir. 2013); Lively v. IJAM, Inc.,

2005 OK CIV APP 29 ¶ 26, 114 P.3d 487, 494. The Supreme Court recently

reiterated this standard in Daimler, wherein it stated general jurisdiction refers to a

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court’s power to hear claims against a nonresident when its “affiliations with the

State are so continuous and systematic’ as to render [it] essentially at home in the

forum state.” Daimler, 134 S.Ct. at 751 (quoting Goodyear, 564 U.S. at 919).2 The

Daimler Court rejected a formulation of general jurisdiction that would permit the

exercise of jurisdiction over a defendant “in every State in which a corporation

engages in a substantial, continuous, and systematic course of business” as

“unacceptably grasping.” Id. at 761. Rather, the Court reminded the parties that

general jurisdiction has increasingly played a “reduced role,” id. at 755, 757-58,

and “only a limited set of affiliations with a forum will render a defendant

amenable to all-purpose jurisdiction there.” Id. at 760.3

      In assessing contacts with a forum for purposes of general jurisdiction, the

Tenth Circuit considers such factors as: “(1) whether the corporation solicits


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  As the Tenth Circuit recognized, “[t]he Goodyear standard was not new; it
summarized a longstanding jurisdictional rule.” American Fidelity Assur. Co. v.
Bank of New York Mellon, 810 F.3d 1234, 1238 (10th Cir. 2016) (citing Int’l Shoe
Co. v. Washington, 326 U.S. 310, 318 (1945)).
3
  In the corporate context, such affiliations would be the defendant’s place of
incorporation and principal place of business. Daimler, 134 S.Ct. at 760. “Those
affiliations have the virtue of being unique – that is, each ordinarily indicates only
one place – as well as easily ascertainable. ... These bases afford plaintiffs recourse
to at least one clear and certain forum in which a corporate defendant may be sued
on any and all claims.” Id. (citations omitted). Although the Daimler Court
emphasized that a corporation may not be subject to general jurisdiction only
where it is incorporated or has its principal place of business, it rejected a finding
of jurisdiction in every state where a corporation engaged in a “substantial,
continuous, and systematic course of business.” Id. at 761.
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business in the State through a local office or agents; (2) whether the corporation

sends agents into the state on a regular basis to solicit business; (3) the extent to

which the corporation holds itself out as doing business in the forum state, through

advertisements, listings or bank accounts; and (4) the volume of business

conducted in the state by the corporation.” Trierweiler v. Croxton and Trench

Holding Corp., 90 F.3d 1523, 1533 (10th Cir. 1996).4 To this end, a court must

appraise “a corporation’s activities in their entirety, nationwide and worldwide,”

because “[a] corporation that operates in many places can scarcely be deemed at

home in all of them.” Daimler, 134 S.Ct. at 762, n. 20 (citations omitted). “Where

a court has general jurisdiction over a defendant, that defendant may be called into

that court to answer for any alleged wrong, committed in any place, no matter how

unrelated to the defendant’s contacts with the forum.” American Fidelity Assur.

Co. v. Bank of New York Mellon, 810 F.3d 1234, 1238 (10th Cir. 2016) (quoting

Abelesz v. OTP Bank, 692 F.3d 638, 654 (7th Cir. 2012)).

      Plaintiffs cite several “commonsense observations” in support of their

argument that general jurisdiction exists over Ford: (1) Ford placed the subject

vehicle into the stream of commerce via one of its many dealerships; (2) Ford

maintains indemnity agreements with said dealerships under which it agrees to


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 Although under Daimler, the weight of these factors appears to have been greatly
diminished, they remain relevant, albeit not dispositive, to a court’s inquiry in
deciding whether general jurisdiction has been established.
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assume the dealership’s defense and pay any verdict arising from a products

liability action; (3) Ford provides a warranty on its vehicles, thereby maintaining

an ongoing contractual relationship with every dealership in the nation; and (4)

Ford finances customer’s purchases of its vehicles, thereby subjecting itself to the

laws of the particular state and availing itself of the same. See Pl. Resp. Br. at 3-4

[Doc. No. 18]. In addition, Plaintiffs note there are forty-six (46) Ford dealerships

in Oklahoma, Ford has maintained its corporate registration with the Oklahoma

Secretary of State since 1920, and Ford voluntary subjects itself to the jurisdiction

of Oklahoma courts when it files suit to collect unpaid debts. Id. at 4.

      Applying Daimler to the facts of this case, the Court finds it does not have

general jurisdiction over Ford. Plaintiffs’ arguments rest on the notion that Ford’s

“continuous and systematic” contacts with Oklahoma confer general jurisdiction.

However, as noted above, Daimler specifically rejected the concept that a business

organization is “at home” in a given state merely because it does significant

business there, finding such a conclusion “unacceptably grasping.” Daimler, 134

S.Ct. at 761. Ford is a Delaware corporation with its principal place of business in

Michigan. See Petition at ¶ 1; Ford’s Mot. at 3, Ex. 1. It is “at home” in either of

those two states, but not Oklahoma, and outside of their allegations that Ford does

significant business in Oklahoma, Plaintiffs have not alleged any facts that would




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suggest that Ford has such continuous and systematic contacts with Oklahoma as

to render it “at home” in this forum.

      In Daimler, the Supreme Court noted that in “exceptional cases,” a

corporation’s operations in a forum other than its place of incorporation or

principal place of business may be so substantial as to render the corporation “at

home” in that state. Id. at 761 n. 19. Although the Court did not define what

constituted an “exceptional case,” it referenced a previous decision, Perkins v.

Benguet Consol. Mining Co., 342 U.S. 437 (1952). In Perkins, the Court held that a

mining company based in the Philippines was subject to general personal

jurisdiction in Ohio because its president directed all of the company’s activities

from Ohio. Id. at 448. The Daimler Court noted that Perkins was an “exceptional

case” because the defendant’s mining operations were halted by Japanese wartime

occupation of the Philippines. “Given the wartime circumstances,” the Court noted,

“Ohio could be considered ‘a surrogate for the place of incorporation or head

office.’” Daimler, 134 S.Ct. at 756 n. 8 (citations omitted). Here, Plaintiffs allege

no such “exceptional circumstances” to support their argument that general

jurisdiction exists over Ford. Accordingly, the Court finds that it does not have

general personal jurisdiction over Ford in Oklahoma.




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      B.     Specific Jurisdiction

      A specific jurisdiction analysis involves a two-step inquiry. First, a court

must consider whether the defendant’s conduct and connection with the forum are

such that it should reasonably anticipate being haled into court there. Second, if the

defendant’s actions create sufficient minimum contacts, the court must then

consider whether the exercise of personal jurisdiction over the defendant offends

traditional notions of fair play and substantial justice. Melea, Ltd. v. Jawer SA, 511

F.3d 1060, 1065 (10th Cir. 2007). “In the tort context, [courts] generally consider

‘whether the nonresident defendant ‘purposefully directed’ its activities at the

forum state.’” Anzures v. Flagship Restaurant Group, 819 F.3d 1277, 1280 (10th

Cir. 2016) (quoting Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3d 1063,

1071 (10th Cir. 2008)). In this regard:

      [P]urposeful direction exists when there is “an intentional action ...
      expressly aimed at the forum state ... with [the] knowledge that the
      brunt of the injury would be felt in the forum state.”... In addition, a
      plaintiff’s injuries must “‘arise out of’ [the] defendant’s forum-related
      activities.”... And in that regard, “[f]or a State to exercise jurisdiction
      consistent with due process, the defendant’s suit-related conduct must
      create a substantial connection with the forum State.”... Significantly,
      the relationship between a defendant and the forum State “must arise
      out of contacts that ‘the defendant himself ’ creates with the forum
      State,” and those contacts must be “with the forum State itself, not the
      defendant’s contacts with persons who reside there,” such as a
      plaintiff.

Anzures, 819 F.3d at 1280 (citations omitted; paraphrasing and emphasis in

original). Such contacts cannot be random, fortuitous or attenuated. See id.; see
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also OMI Holdings, 149 F.3d at 1094. The plaintiff cannot be the only link

between the defendant and the forum. Walden v. Fiore, __ U.S. __, 134 S.Ct. 1115,

1122, 188 L.Ed.2d 12 (2014). Whether a nonresident’s activities in the forum are

sufficient to confer personal jurisdiction depends on “the totality of facts and

circumstances.” Premier Corp. v. Newsom, 620 F.2d 219, 222 (10th Cir. 1980); see

also Eades v. Kennedy, PC Law Offices, 799 F.3d 161, 169 (2d Cir. 2015) (“[W]e

evaluate the quality and nature of the defendant’s contacts with the forum state

under a totality of the circumstances test.”) (citation omitted).

      The Tenth Circuit has endorsed a three-pronged analysis for use when

examining whether a nonresident defendant has sufficient minimum contacts with

the forum to satisfy constitutional requirements: (1) the nonresident must do some

act or consummate some transaction with the forum or perform some act by which

it purposefully avails itself of the privilege of conducting activities in the forum,

thereby invoking the benefits and protections of its laws; (2) the claim must be one

which arises out of or results from the defendant’s forum-related activities; and (3)

exercise of jurisdiction must be reasonable. Rambo, 839 F.2d at 1419 n. 6.

      Plaintiffs maintain they can establish purposeful availment by Ford based on

the “stream of commerce” theory. Pl. Resp. Br. at 4-8 [Doc. No. 18]. The stream of

commerce theory refers to “the movement of goods from manufacturers through

distributors to consumers,” ending in the forum state. J. McIntyre Mach., Ltd. v.

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Nicastro, 564 U.S. 873, 881 (2011). To this end, the Supreme Court has stated that

“a defendant’s placing goods into the stream of commerce ‘with the expectation

that they will be purchased by consumers within the forum State’ may indicate

purposeful availment.” Id. (citing World-Wide Volkswagen Corp. v. Woodson, 444

U.S. 286, 298 (1980)). But beyond this descriptive purpose, the meaning of

“stream of commerce” is far from exact, and its use does not amend the general

rule of personal jurisdiction. Id. Rather, “[i]t merely observes that a defendant may

in an appropriate case be subject to jurisdiction without entering the forum – itself

an unexceptional proposition – as where manufacturers or distributors ‘seek to

serve’ a given State’s market.” Id. (citation omitted).

      Thus, the mere awareness that a product will enter the forum state is not

enough; there must be a “specific effort” on the part of the defendant to target the

forum state. Id. at 889; Monge v. RG Petro-Machinery (Group) Co. Ltd., 701 F.3d

598, 619 (10th Cir. 2012) (Noting that under the stream of commerce theory, “[t]he

substantial connection between the defendant and the forum ‘must come about by

an action of the defendant purposefully directed toward the forum State.’”)

(quoting Asahi Metal Indus. Co., Ltd. v. Superior Ct. of Cal., Solano County, 480

U.S. 102, 112 (1987) (emphasis in original)).

      In Asahi, the Supreme Court specifically addressed the stream-of-commerce

jurisdiction theory. There, Asahi Metal (Asahi), a Japanese corporation, sold tire

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valve assemblies to a tire manufacturer in Taiwan. Eventually, tires with the

company’s valves found their way into California, where an alleged tire defect

caused an accident. The victim sued the Taiwanese tire manufacturer in California

state court, and the manufacturer impleaded Asahi, who challenged jurisdiction.

Despite the fact that Asahi did no business in California and had no control over

the distribution system that brought its products into that state, the California

Supreme Court upheld jurisdiction on the ground that Asahi knew its valve

assemblies would be put in tires sold in California and benefitted indirectly from

those sales.

      The Supreme Court reversed; however, its attempt to define the elements

required for specific jurisdiction under a stream of commerce theory failed to

produce a majority opinion. Writing for a plurality of four, Justice O’Connor stated

that “[t]he placement of a product into the stream of commerce, without more, is

not an act of the defendant purposefully directed toward the forum State.” Asahi,

480 U.S. at 112. Rather, some “additional conduct” indicating the defendant’s

“intent or purpose to serve the market in the forum State” is necessary before

personal jurisdiction may be exercised. Id. Such additional conduct may include

“designing the product for the [forum State’s] market .... advertising in the forum

State, establishing channels for providing regular advice to customers in the forum

State, or marketing the product through a distributor who has agreed to serve as the

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sales agent in the forum State.” Id. While not conclusively limiting “additional

conduct” to the foregoing examples, Justice O’Connor clearly excluded a

defendant’s mere awareness “that the stream of commerce may or will sweep the

product into the forum State.” Id. Such knowledge simply “does not convert the

mere act of placing the product into the stream into an act purposefully directed

toward the forum State.” Id.

      Here, it is indisputable that Ford delivered its vehicles into the “stream of

commerce” with the expectation that they would be purchased by consumers in

Oklahoma. The pivotal question is whether Ford engaged in any “additional

conduct” such that it could be said to have purposefully availed itself of the

privilege of conducting business in Oklahoma. The Court holds that Ford did

engage in such activity under the test enunciated in Asahi. First, Ford designs and

manufacturers its vehicles for the U.S. market, which includes Oklahoma. Second,

it is undisputed that Ford vehicles, including the F-150, are the subject of a

nationwide advertising campaign and that Ford specifically advertises its vehicles

on a continuous basis in Oklahoma. Moreover, Ford maintains numerous

dealerships throughout Oklahoma; Ford, in conjunction with these dealerships,

establishes channels for providing regular advice, service, and product information

to Oklahoma customers.




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      The Court finds unavailing Ford’s argument that personal jurisdiction does

not exist because the subject vehicle was assembled in Kansas City, Missouri and

later sold to an independent dealership in Indiana. Ford’s Mot. at 3, 12. The pivotal

inquiry under the stream of commerce theory is whether a defendant has attempted

to serve a market and expects its product to be used there. Irrespective of the state

of assembly, Ford designs, manufactures, markets, and sells products specifically

built for interstate travel, which includes Oklahoma. Ford manufactured and sold

the subject vehicle with the reasonable expectation it would be used in Oklahoma

and this action arises from the vehicle’s use in Oklahoma.

      Furthermore, the Court finds that the exercise of personal jurisdiction

comports with traditional notions of fair play and substantial justice. On this issue,

the Supreme Court previously stated:

      [I]f the sale of a product of a manufacturer or distributor such as Audi
      or Volkswagen is not simply an isolated occurrence, but arises from
      the efforts of the manufacturer or distributor to serve directly or
      indirectly, the market for its product in other States, it is not
      unreasonable to subject it to suit in one of those States if its allegedly
      defective merchandise has there been the source of injury to its owner
      or to others. The forum State does not exceed its powers under the
      Due Process Clause if it asserts personal jurisdiction over a
      corporation that delivers its products into the stream of commerce
      with the expectation that they will be purchased by consumers in the
      forum State.

World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297-98 (1980). The

Court finds this rationale equally applicable here. “If a defendant’s product comes

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into the forum state as a result of a deliberate, although perhaps indirect, effort of

the defendant to serve the forum state’s market, then that defendant may be said to

have purposefully availed itself of the protections of that state and is subject to

jurisdiction there.” Fidelity & Cas. Co. of N.Y. v. Philadelphia Resins, 766 F.2d

440, 446 (10th Cir. 1985) (internal quotations omitted). As Judge Seymour noted

in her dissent in Philadelphia Resins, the World-Wide Volkswagen Court focused

on the local nature of the defendants’ business and the due process concerns of

requiring local retailers, sellers and concessionaires to defend against lawsuits all

over the country. Id. at 447-48 (Seymour, J., dissenting). Such concerns are

minimized, however, where the defendant is a national manufacturer or distributor

(such as Ford), and personal jurisdiction over such defendants turns on whether

they have attempted to serve a given market and can expect their products to be

used in a given forum. Id. at 448.

      Accordingly, the Court finds it has specific jurisdiction over Ford and its

motion is denied on this ground.

II.   TRW VEHICLE SAFETY SYSTEMS INC.

      TRW contends personal jurisdiction is lacking because (1) it is not “at

home” in Oklahoma, (2) it has no corporate presence in Oklahoma, and (3) it did

not design, manufacture, or sell the seatbelt system to Ford in Oklahoma. TRW’s

Mot. at 1.

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      A.     General Jurisdiction

      The foregoing analysis with respect to the Court’s exercise of general

jurisdiction over Ford applies equally to TRW. TRW is a Delaware corporation

with its principal place of business in Michigan. TRW’s Mot. at 4, Ex. 1; Petition,

¶ 4. It is accordingly considered “at home” in those states. Plaintiffs do not refute

TRW’s motion on this issue, and only challenge its motion as it relates to the

existence of specific jurisdiction. See Pl. Resp. Br. at 6 (“Plaintiffs therefore ask

that this motion be denied with regard to specific jurisdiction.”) (emphasis added)

[Doc. No. 20]. Accordingly, the Court finds that it does not have general personal

jurisdiction over TRW in Oklahoma.

      B.     Specific Jurisdiction

      Under the test enunciated in Asahi, it does not appear the Court can exercise

specific personal jurisdiction over TRW. Unlike Ford, the record shows TRW’s

activity fails to meet any of the examples of “additional conduct” discussed supra.

There is no evidence that TRW purposefully directed actions toward Oklahoma,

i.e., that it ever directly sold its products in Oklahoma. Asahi, 480 U.S. at 112.

There is no evidence TRW established channels to provide regular advice or

product information to Oklahoma consumers or marketed its products through an

Oklahoma distributor or sales agent. The record shows TRW’s business

relationship was with Ford and the products provided and services performed by

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TRW were ordered by Ford and delivered to Ford’s plants outside Oklahoma.

Ford’s business relationships and commercial transactions, not TRW’s, dictated

where and to whom Ford trucks would be delivered.

      Plaintiffs reference an Annual Report published by TRW and contend its

global marketing efforts indicate its knowledge that its parts would find their way

into Oklahoma. The Court finds the distinction pressed by Plaintiffs between

knowledge and foreseeability unavailing. As stated, the mere foreseeability that a

product might travel to the forum state is insufficient to establish minimum

contacts with that state. Asahi, 480 U.S. at 112. Based on the record before it, the

Court finds TRW’s awareness that Ford sells trucks to Oklahoma residents does

not demonstrate that TRW purposefully availed itself of the privilege of

conducting activities within Oklahoma. In the Court’s view, awareness of the final

delivery point of a truck does not indicate TRW’s “intent or purpose to serve the

market of the forum State.” Id. Whatever contacts TRW has with Oklahoma, under

the facts of this case, such contacts are “random, fortuitous, [and] attenuated.”

Burger King, 471 U.S. at 475. Plaintiffs have failed to show that TRW maintained

the constitutionally minimum contacts required under Asahi’s stream of commerce

analysis to permit an exercise of personal jurisdiction.




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III.   JURISDICTIONAL DISCOVERY

       As a final matter, Plaintiffs seek leave to conduct jurisdictional discovery

should the Court feel inclined to grant TRW’s motion [Doc. No. 21]. Although the

scope of discovery permitted under the Federal Rules is generally quite broad, trial

courts are vested with the discretion to permit or deny discovery in aid of

jurisdiction. Sizova v. Nat’l Inst. of Standards & Tech., 282 F.3d 1320, 1326 (10th

Cir. 2002); Harris v. Am. Intern. Group, Inc., 923 F.Supp.2d 1299, 1302 (W.D.

Okla. 2013). A refusal to grant discovery constitutes an abuse of discretion if the

denial results in prejudice to a litigant; prejudice occurs where “pertinent facts

bearing on the question of jurisdiction are controverted or where a more

satisfactory showing of the facts is necessary.” Sizova, supra. Plaintiffs bear the

burden of demonstrating a legal entitlement to jurisdictional discovery and the

related prejudice flowing from any denial. Grynberg v. Ivanhoe Energy, Inc. 490 F.

App’x 86, 103 (10th Cir. 2012) (unpublished).

       As framed in their motion, Plaintiffs request discovery to ascertain “TRW’s

knowledge of the geographical breadth of distribution of vehicles produced by its

OEM customers and ... the precise make and model of every OEM vehicle which

has incorporated one of TRW’s component parts over the entire history of TRW’s

relationship with each respective OEM manufacturer.” Aside from the fact

Plaintiffs’ request appears to be overly broad, Plaintiffs have not adequately

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shown, to the Court’s satisfaction, their entitlement to jurisdictional discovery, i.e.,

how this discovery would enable them to respond to the issues in TRW’s motion.

The Court has repeatedly observed in this Order that the mere foreseeability that a

product might travel to the forum state is insufficient to establish minimum

contacts with that state. Asahi, 480 U.S. at 112. Based on the uncontroverted

evidence in TRW’s motion, the Court finds there is a low probability that the lack

of discovery would affect the outcome of the instant motions to dismiss. See

Grynberg, 490 F. App’x at 103 (“The district court does not abuse its discretion by

denying jurisdictional discovery where there is a ‘very low probability that the lack

of discovery affected the outcome of this case.’”) (quoting Bell Helicopter Textron,

Inc. v. Heliqwest Intern., Ltd., 385 F.3d 1291, 1299 (10th Cir. 2004)). In light of

the foregoing analysis, the Court chooses to exercise its discretion and deny

Plaintiffs’ motion requesting jurisdictional discovery.

                                   CONCLUSION

      Defendant Ford Motor Company’s Motion to Dismiss [Doc. No. 10] is

DENIED as set forth herein. Defendant TRW Vehicle Safety Systems Inc.’s

Motion to Dismiss [Doc. No. 11] is GRANTED as set forth herein. Plaintiff’s

Motion for Discovery Relative to Ford Motor Company’s Motion to Dismiss [Doc.

No. 19] is DENIED as moot. Plaintiff’s Motion for Discovery Relative to TRW




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Vehicle Safety Systems Inc.’s Motion to Dismiss [Doc. No. 21] is DENIED as set

forth herein.

      IT IS SO ORDERED this 5th day of December, 2016.




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